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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ORIGINAL

CASE SUMMARY

 
  
  

Case Number
U.S.A. v. Mohamad Moussa Matar

 

BrRO7-01 223 Defendant Number 2 > “

 

Indictment 0) Information

NOTE: All items are to be completed. Information aot applicable or unknown shall be indicated as 5 NA"

OFFENSE/VENUE
a. Offense charged as a: O Petty Offense

L] Misdemeanor 0 Minor Offense
b. Date of offense Nov. 2006-October 2007

wt Felony

 

¢, County in which first offense occurred
Los Angeles

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

Mf Los Angeles CO Ventura
LJ Orange O Santa Barbara
if Riverside HO San Luis Obispo

San Bernardino Of Other
Citation of offense 18 U.S.C. 371, 31 U.S.C. 5324(a), (d),
31 U.S.C. 5317

RELATED CASE
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? if No 0 Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE N/A

 

PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on: N/A
Case Number N/A
Charging N/A

 

The complaint: Cl is still pending
OC was dismissed on: N/A

 

 

 

 

ws =
Year of Birth _1979 cS §
Investigative agency (FBI, DEA, etc.) FBI rt =
a 7
COMPLEX CASE pom 7
Are there 8 or more defendanty} in sic tn vTformal Soh?
O Yes* No =r ~
. a =
ai: oo

Will more than 12 days be rdquired to resent povernment’s
evidence in the case-in-chief?
O Yes* No

* AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Superseding Indictment/Information

This is the ___N/A__ superseding charge, i.e. 1%, 2"!
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
U is still pending before Judge/Magistrate Judge
N/A

U1 was previously dismissed on N/A

Are there 8 or more defendants in the superseding case?
CO Yes* CO No

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
Oo Yes* ONo

Was a Notice of Complex Case filed on the Indictment or

Information?
U1 Yes Li No

* AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX

CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE

ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Is an interpreter required: Myes ONo

IF YES, ist language and/or dialect:
Arabic (Lebanese)

 

CR-72 (12/05)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CASE SUMMARY
OTHER CUSTODY STATUS
[YMale C Female Defendant is not in custody:
MUS. Citizen O Alien

a. Date and time of arrest on complaint: N/

i N/A
Alias Name(s) b. Posted bond at complaint level on: N/A

 

 

 

 

 

 

 

 

in the amount of $ N/A
This defendant is charged in: LO All counts c. PSA supervision? L] Yes C1 No
Mf Only counts: 1 and 7 d. Is a Fugitive O Yes No
g

Ol This defendant is designated as “High Risk” per e. Is on bail or release from another district:

18 USC 3146(a)(2) by the U.S. Attorney. NiA

. f H ill tified b
{) This defendant is designated as “Special Case” 2 sppea been arrested but will be notified by summons
18 USC 3166(b)(7). .

per (0)(7) g. Warrant requested. Mf Yes ONo
Is defendant a juvenile? OO Yes No
IF YES, should matter be sealed? O Yes ONo Defendant is in custody:
The area of substantive law that will be involved in this case a. Place of incarceration: {J State Ci Federal
includes: b. Name of Institution: N/A
(] financial institution fraud CL) public corruption - N jeaeral U.S. Marshal's Registration Number:
CO) government fraud CX tax offenses ”

. ; ays d. (1 Solely on this charge. Date and time of arrest:
C1 environmental issues CJ mail/wire fraud N/A
O narcotics offenses 0 immigration offenses _
. . e. On another conviction: ( Yes ONo
CJ violent crimes/firearms C1 corporate fraud os C Federal CO Writ of I
(A Other: monetary transaction reporting IF YES tate edera mit of Issue
_ f. Awaiting trial on other charges: O Yes (No
IF YES O State CD Federal AND

 

Name of Court: N/A

 

Date transferred to federal custody: N/A

 

This person/proceeding is transferred from another district
pursuant to F.R.CrP, 20 21 400

 

EXCLUDABLE TIME
Determinations as to excludable time prior to filing indictment/information EXPLAIN: N/A

 

 

 

 

Date November 1, 2007 mn _ ce ws Ligon
ory nature of Assistant U.S. Attorney

Janet C. Hudson
Print Name

 

 

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